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                      IN THE UNITED STATES DISTRICT COURT FOR THE
                              NORTHERN DISTRICT OF INDIANA
                                  SOUTH BEND DIVISION

  ANDREW ROYER,                                     )
                                                    )
                 Plaintiff,                         )   Case No. 3:22-CV-00254
                                                    )
                 v.                                 )
                                                    )   HON. JUDGE JON E. DEGUILIO
  CITY OF ELKHART, et al.,                          )
                                                    )
                 Defendants.                        )   HON. MAG. JUDGE MICHAEL G.
                                                    )   GOTSCH, SR.
                                                    )
                                                    )

                              NOTICE OF CONVENTIONAL FILING

       PLEASE TAKE NOTICE that Plaintiff has manually filed with the Clerk a flash drive

with the below-listed exhibit. These exhibits have been filed conventionally because they

contain audio that cannot be converted into an electronic format to file via the CM/ECF filing

system of the Northern District of Indiana.

            Exhibit No.        Description
                               Clip of Audio Recording of August 2022 Meeting with
            15                 Chief Seymour, Jason Ray, and Joy Phillips



                                                             Respectfully submitted,

                                                             /s/ Elliot Slosar
Jon Loevy
Elliot Slosar
Margeret E. Campbell
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                                 CERTIFICATE OF SERVICE

       I, Elliot Slosar, an attorney, certify that on May 17, 2023, I delivered by electronic means

a copy of the foregoing notice to all counsel of record.


                                                      /s/ Elliot Slosar
